l6-cv-01364(JPO)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ROSEMARIE RICHARDSON,
                                         Plaintiff,
                     - against -
CARMEN FARINA, KATHERINE G. RODI,
CANDACE MCLAREN, MIRIAM M. BERARDINO,
ANNA STEEL, THE NEW YORK CITY
DEPARTMENT OF EDUCATION, THE NEW YORK
CITY BOARD OF EDUCATION, and THE CITY OF
NEW YORK,

                                          Defendants

REPLY MEMORANDUM OF LAW IN SUPPORT
OF DEFENDANTS THE CITY OF NE\ry YORK,
THE NE\ry YORK CITY DEPARTMENT OF
EDUCATION, AND THE NEW YORK CITY
BOARD OF EDUCATIONOS MOTION TO
DISMISS THE COMPLAINT


               ZACHARY II/. CARTER
     Corporation Counsel of the City of New York
         Attorney for Defendants The City of New York,
         The New York City Department of Education,
         and the New York City Board of Education
         100 Church Street
         New York, N.Y. 10007

          Of Counsel: Kevin Connolly
          Tel: (212) 3s6-I 180
                 REPLY MEMORANDUM OF LAW IN SUPPORT OF
                 DEFENDANTS THE CITY OF NEW YORK. THE NE\ry
                 YORK CITY DEPARTMENT OF EDUCATION" AND THE
                 NE\ry YORK CITY BOARD OF' EDUCATION'S
                 COMPLAINT

  I.    PLAINTIFF'S FIRST AND SECOND CAUSES OF ACTION, ALLEGING
        VIOLATION OF HER DUE PROCESS RIGHTS AND VIOLATION OF
        SECTION 3O2O.A OF THE NE\ry YORK EDUCATION LA\ry, SHOULD BE
        DISMISSED BASED ON HER FAILURE TO PLEAD A PRIMA FACIE CASE

                 The Due Process Clause of the Fourteenth Amendment provides that no state shall

"deprive any person of life, liberty, or property, without due process of law." To establish                   a


violation of due process, a plaintiff must (1) identify a constitutionally protected interest of

which she was deprived by state action; and (2) show that she did not receive the process that

was constitutionally due. See Zinermon v. Burch, 494 U.S. 1I3,125 ("[T]he deprivation by state

action of a constitutionally protected interest         .      is not in itself unconstitutional; what is

unconstitutional is the deprivation of such an interest without due process of law.")(emphasis in

original).

    A. Plaintiffls Rights Under the Due Process Clause of the Fourteenth Amendment and
        New York State Education Law Section 3020-A Were Not Violated When She Was
        Placed on the Ineligible List Without a Disciplinary Hearing, Because Her
        Retirement Deprived DOE of the Opportunity to Comply With Procedural
        Obligations and Foreclosed Plaintiff From Seeking the Protections of Her Previous
        Rights as an Employee

                 In her Affirmation in Opposition to DOE's motion to dismiss the Complaint,

Plaintiff continuously relies upon case law that is inapplicable to the instant matter. Plaintiff

relies upon cases such      as   Locurto v. Safir 264 F.3d 1285 (2d Cir. 2001), Otero v. Bridgeport

Housing Auth ., 297    F   .3d 142 (2d Cir. 2002), Todaro v. Norat, 112 F.3d 598 (2d Cir. 1997), and

' No appearance is made on behalf of clefendants Carmen Farina, Katherine G. Rodi, Candace Mclaren, Miriam M.
Berardino, and Anna Steel (collectively "lndividual Defendants") at this time. Contrary to what is stated in the
Declaration of Allen Kohn, the Individual Defendants have not been properly served wlth the Sunmons and
Complaint.
Leonardi v. Bd. of Fire Comm'rs of Mastic Beach Fire Dist., 643 F.Supp 610 (E.D.N.Y. 1986),

where the Courts were presented with a completely different issue than what is presented to the

Courtintheinstantmatter.Notably,ineachofthesecaSeS,theplaintiffwaSf@fromhis

job without being afforded a due process hearing. By contrast, in the instant matter, Plaintiff

deprived DOE of the opportunity to conduct a disciplinary hearing by resisnins/retiring from

her position as DOE was conducting its investigation into the allegations made against her.

                The Courts have regularly held that in the context of an adverse employment

claim, where the alleged illegality is the employer's failure to afford the employee legally

required procedural protections, and the employee voluntarily resigns before being discharged,

the resignation effectively deprives the employer       of the opportunity to      comply with the

procedural obligations and forecloses the employee from seeking the protections of her previous

rights as an employee. Finle)¡ v. Giacobbe, 19 F.3d 1285 (2d Cir. 1996); Trachtenbers v. Dep't

of Educ., 937 F. Supp. 2d 460 (S.D.N.Y. 2013); Mceann v. Citv of New York, 2073 U.S. Dist.

LEXIS 43541,12 Civ. 5746 (PAE) (S.D.N.Y.). Due process guarantees that before the state may

deprive an individual   of life, liberty or property, he or   she   will be provided with procedural
protections appropriate to the particular circumstances. Williams v. H.N.S. Msmt. Co., 56 F.

Supp. 2d 515 (D. Conn., June 28, 1999) (emphasis added). However, an employee's voluntary

resignation effectively deprives the employer of the opportunity to comply with such procedural

obligations and forecloses the employee from seeking the protections            of his rights as an
employee. Id.

                Plaintiff s opposition to DOE's motion to dismiss fails to offer a single case that

addresses   a similar factual scenario as presented in the instant matter, where the plaintiff

resigned before a disciplinary hearing was held. Instead, Plaintiff makes a hollow attempt to



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oppose DOE's motion by arguing that the cases presented         in   support   of DOE's motion   are


"plainly inapposite" to the instant matter. For instance, Plaintiff argues reliance on the Second

Circuit's decision in Finley, 79 F.3d 1285, is misplaced because        it   involved a probationary

employee and not a tenured employee. However, the plaintiffls probationary status had no

bearing on the Second Circuit's analysis of this issue in Finley. When addressing this issue the

Second Circuit ruled:

              Dr. Finley's seventh cause of action asserts that the defendants
              deprived her of procedural due process in violation of $ 1983 by
              terminating her without a hearing and without stating reasons for
              her dismissal. However, Dr. Finley cannot complain of procedural
              defects and omissions, because she resigned before her employer
              took all the steps necessary to fire her. An employee who resigns
              in anticipation of a discharge motivated by illegal reasons, such as
              discrimination or absence of cause, may encounter no such bar, but
              we need not decide such a case because it is not before
              us. Cf. Molinar v. Western Elec. Co. , 525 F.2d 521, 530 (1st Cir.
               1975) (applying New York law) (noting that resignation might be
              legally ineffective where pending discharge was motivated by bad
              faith). That said, where the alleged illegality is the employer's
              failure to afford the employee legally required procedural
              protections, and the employee voluntarily resigns before being
              discharged, the resignation effectively deprives the employer of the
              opportunity   to   comply with the procedural obligations           and
              forecloses the employee from "seeking the protections of, her
              previous rights as an employee." Girard v. Board of Educ., 168
              A.D.2d 183, 186,572N.Y.S.2d 185, 187 ( thDep't 1991).

              Assuming, arguendo, that Dr. Finley was entitled to a hearing and
              to a statement of reasons for discharge, her resignation makes it
              impossible for her to demonstrate that she would not have received
              them prior to her actual firing. Before terminating her, Giacobbe
              might well have consulted counsel and been advised that she
              should be given reasons and afforded a hearing. Dr. Finley short-
              circuited the process by tendering her resignation. Once she did so
              and was no longer an employee, the Hospital had neither authority
              nor reason to conduct a hearing on her discharge and had no
              further occasion to state its reasons for doing so. Indeed, the
              Hospital lost its ability to discharge her. Her claim that she was not
              given procedural rights to which she was entitled accordingly must
              fail. See Biesel v. Board of Educ.,211 A.D.2d 969,621 N.Y.S.2d

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                 709,710 (3d Dep't 1995).

Id. at 1296. Notably, in Finley, the Second Circuit made no mention of the plaintiffs
probationary status when addressing his procedural due process claim because it was irrelevant.

Here, like Finley, Plaintiffls resignation makes      it   impossible for her to demonstrate that she

would not have received a disciplinary hearing upon the conclusion of DOE's investigation.

Once Plaintiff retired, and was no longer an employee, DOE had neither authority nor reason to

conduct a hearing.

                 Moreover, in its analysis of this issue in Finle)¡, the Second Circuit cited the New

York State Appellate Division, Fourth Department's decision in Girard, 168 A.D.2d. In Girard,

the petitioner, a retired/resigned tenured school employee, sought to annul the school district's

decision   to   abolish her former position as Assistant Superintendent. See         Id. The   Fourth

Department ruled that the lower court properly dismissed the Article 78 proceeding as moot by

reason of the petitioner's resignation and retirement. Id. The Fourth Department stated, "When

petitioner's resignation was accepted by respondent, the employment relationship that existed

between petitioner and respondent        terminated. following respondent's            acceptance of

petitioner's resignation, petitioner    no longer possessed any         reemployment rights against

respondent." Id. Moreover, the Court ruled that the petitioner's retirement resulted in both her

waiver of any right to future employment and her forfeiture of her tenure rights:

                 In Matter of Cannon v Ulster           Bd. of Cooo. Educ. Servs
                 155 AD2d 846, 847 (3d Dept. 1989), the Third Department
                 determined that, by allowing an application for retirement benefits
                 to become effective, an individual waived any right to future
                 employment, stating: "Petitioner's voluntary and deliberate act in
                 allowing his retirement application to become effective constitutes
                 clear and convincing evidence that he intended to relinquish his
                 position and forfeit his tenure rights.

Id.   As clearly set forth in Girard, Plaintiffs retirement resulted in the termination of        the


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employment relationship, the termination       of any reemployment rights against the DOE, the

waiver of any right to future employrnent, and the forfeiture of her tenure rights.

               Plaintiff likewise attempts to argue that Trachtenberg,93T F. Supp.2d, is "plainly

inapposite" to the instant matter, but fails to acknowledge that the plaintiff in Trachtenberg was

also a retired formerly tenured DOE teacher. Id. In Trachtenberg, the Court ruled,

               If  Trachtenberg had not retired, and proceedings had not
               commenced, then there would be no adverse consequence on
               which to base her claim; she cannot manufacture an adverse
               employment action by retiring and claiming that removal
               proceedings were a fait accompli. Cf. Finle)¡ v. Giacobbe, T9 F.3d
               1285, 1296 (2d Cir. 1996) ("[V/]here the alleged illegality is the
               employer's failure to afford the employee legally required
               procedural protections, and the employee voluntarily resigns
               before being discharged, the resignation effectively deprives the
               employer of the opportunity to comply with the procedural
               obligations and forecloses the employee from seeking the
               protections of her previous rights as an employee.").

Id. at 470. Accordingly, by retiring from her position while DOE conducted its investigation

into the allegations made against Plaintiff, Plaintiff deprived DOE of the opportunity to conduct

a disciplinary hearing and foreclosed Plaintiff from seeking the protections of her previous rights

as an employee, specifically, the rights   formerly afforded to her under Section 3020-aof the New

York Education Law.

               Moreover, Section 3020-a of the New York Education Law has no bearing on the

instant matter because Plaintiff was no longer a DOE employee at the time OSI substantiated the

allegations against her, nor were 3020-a charges ever filed against        Plaintiff. And, even if
Plaintiff believed she was entitled to a 3020-a hearing, she should have timely commenced        an

Article 78 proceeding   -   a meaningful and adequate state law remedy       -   in New York   State

Supreme Court requesting said     relief.    See Giqlio   v. Dunn,732 F.2d ll33 (2d Cir.    1984).

Through an Article 78 proceeding, plaintiff could have challenged, but did not, various


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determinations, including the denial of her security clearance, as well as assert her claim that a

hearing should have been held pursuant to Education Law $ 3020-a. See Gislio, 732 F.2d at

1135 (.'V/here, as here, Article 78 gave the employee a meaningful opportunityto challenge the

voluntariness of his resignation, he was not deprived of due process simply because he failed to

avail himself of the opportunity."). Accordingly, Plaintiff s first and second causes of action,

respectively alleging violation of her due process rights and violation of her rights under New

York State Education Law $ 3020-a, should be dismissed.

   B. Plaintiff Does Not Have a Property Interest in a DOE           Security Clearance

                 In   order   to   establish   a Due Process claim   based on the deprivation   of   a


constitutionally protected interest, Plaintiff must show that she has a property interest, created by

state law, in the employment or the benef,rt that was removed. Bemheim v.      Litt,79 F .3d 3I8,322

(2d Cir. 1996). "[T]here is no constitutionally protected property interest in prospective

government employment," and a job applicant therefore has no property interest in the position

forwhich   she applies. Abramson       v. Pataki. 278F.3d 93, 100 (2dCir.2002); see also Board of

Regents   v. Roth, 408 U.S. 564 (1972) (unilateral expectation of re-appointment to teaching

position does   not qeateproperty interest); McMenemv v. City of Rochester ,241 F.3d 279,288

(2d Cir.200l) (plaintiff "had no property interest in fair consideration for [a] promotion.");

MacFarlane v. Grasso , 696 F .2d 217 , 227-22 (2d Cir. 1982) (applicant for a job has no property

interest in the job). A person who voluntarily resigns from a position may not, in most cases,

then be heard to express a property interest in it. Thorsen v. County of Nassau,2g4F. Supp. 2d

371 (E.D.N.Y.2003).

                In her opposition to DOE's motion, Plaintiff makes no attempt to argue that      she


has a property interest in a DOE security clearance or to explain how any of the aforementioned



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cases are inapplicable.   Plaintiff   s unilateral expectation that she would regain a teaching position

or that her application for a security clearance would be granted does not create a property

interest. As such, she cannot use the denial of a DOE security clearance as the basis for her due

process claim.

   C. Ptaintiffs Complaint Does Not Establish the Deprivation of a Constitutionally-
       Protected Liberty Interest

                 A plaintiff   establishes the deprivation         of a constitutionally-protected liberty
interest by proving that (1) the govemment made stigmatizing statements about the plaintiff that

call into question her good name, reputation, honor, or integrity; (2) these stigmatizing

statements were made public; and (3) the stigmatizing statements were made concurrently with,

or in close temporal proximity to, the plaintiffs dismissal from govemment employment. Segal

v. City of New York, 459 F .3d        207   ,212 (2d Cir. 2006).

                 Here, Plaintiff argues that the internal OSI Investigative Report which explained

the basis for DOE's decision to place her on the "ineligible list," was sufficiently public to create

a stigma for purposes of establishing the deprivation of a constitutionally-protected liberty

interest. Notably, Plaintiff does not allege that the Investigative Report was ever made available

to the public. See Compl. and Investigative Report. The Investigative Report was an internal

DOE document that was sent from OSI Confidential Investigator, Myriam Berardino, to OSI

Director, Candace Mclaren. See Investigative Report. Accordingly, DOE's reasons for placing

Plaintiff on the "ineligible list" have remained confidential and Plaintiff has failed to state          a


liberty interest claim.

                 In McPherson v. Dep't of Educ.,457 F.3d 211,216-217 (2d. Cir. 2006), the

Second Circuit dismissed the plaintiffls liberty interest claims because the DOE's reasons for

placing the plaintiff on the "ineligible list" were confidential. As the "ineligible list" did not give


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reasons for the     plaintiff s ineligibility, the Second Circuit found that there was no publication of

stigmatizing information and no deprivation of a due process clause liberty interest. Id. Similarly,

in Koehler v. Cit)¡ of New York, No. 04-CV-6929 (RMB),2005 WL 3502042, at *3 (S.D.N.Y.

Dec 20,2005), the Court found that placing a plaintiff s name on DOE's "ineligible list" and

noting the disciplinary charges in her personnel file, were not sufficiently public to create            a


stigma.

                    In the instant matter, Plaintiff does not allege that the Investigative Report, or any

of the reasoning behind DOE's decision to place her on the "ineligible list," were made public.

Accordingly, Plaintiff has failed to establish the deprivation of a Constitutionally-protected

liberty interest.

 il.      PLAINTIFF'S COMPLAINT SHOULD BE DISMISSED BECAUSE A FINAL
          ADMINISTRATIVE DETERMINATION MAY ONLY BE CHALLENGED BY
          COMMENCING AN ARTICLE 78 PROCEEDING IN NEW YORK STATE
          SUPREME COURT

       A. The Court Lacks Jurisdiction       over Plaintiff   s   Article 78 Claim

             In the instant matter, Plaintiff challenges DOE's final administrative determination

denying her security clearance. However, Plaintiffs complaint should be dismissed because

Plaintiff may only challenge such a final administrative determination by commencing an Article

78 proceeding in the New York State Supreme Court. As set forth                      in DOE's   underlying

Memorandum of Law in Support of its Motion to Dismiss, the Courts have held that the New

York State Supreme Court has exclusive jurisdiction over Article 78 claims and New York              State

has not empowered federal court to consider such claims. Blatch ex rel. Cla)¡ v. Hernandez, 360

F. Supp. 2d 595,637 (S.D.N.Y. 2005) and Cartasena v. City of New York,257 F. Supp. 2d 708,

710 (S.D.N.Y. 2003). Moreover, federal courts have regularly declined to exercise supplemental

jurisdiction over Article 78 claims and recognized that the unique nature of Article                   78


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proceedings provides a compelling reason to decline the exercise of supplemental jurisdiction.

See Momingside Supermarket Corp.       v. New York State Dep't of Health, 432 F. Supp. 2d 334,

346 (S.D.N.Y. 2006) and Lucchese       v. Carboni,22 F. Supp. 2d256,258 (S.D.N.Y.                 1998).

Accordingly, Plaintiff s Article 78 claim should be dismissed based on lack of subject matter

jurisdiction.

    B. Plaintiff s Article   78 Claims are Time-Barred

                An Article 78 proceeding "must be commenced within four months after                 the

determination to be reviewed becomes final and binding upon the petitioner." CPLR $ 217(1);

see also Matter      of DeMilio v.   Boreard, 55 N.Y.2d 216, 219 (1982).         An      administrative

determination   is   considered   final and binding, for the       purposes    of   determining the

commencement      of the limitations period, when the petitioner has received notice of              the

determination and is aggrieved by it. See Matter of Lubin v. Board of Educ., 60 N.Y.2d 914,976

(1983), cert denied,569 U.S. 823 (1983); see also Matter of Mascolo v. Hirst,303 A.D.2d 316,

316 (1st Dep't 2003).    It is undisputed that Plaintiff   received notice   of DOE's    determination

denying her security clearance, via letter, on July 28, 2015. See Compl. at         fl   43.   It is also
undisputed that Plaintiff felt that she was aggdeved by this determination, of which she received

notice on July 28,2015. Id. Accordingly, DOE's determination should be considered final and

binding as of that date. Plaintiff therefore had until November 28, 2015, to commence an Article

78 proceeding challenging the determination denying her application. However, she did not

commence the instant proceeding until she f,rled a summons and complaint on February 22,2016,

almost seven months after she received notice of DOE,'s decision. See id. Therefore, her Article

78 claims are time-barred.




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III      THE CITY OF NEW YORK IS NOT A PROPER PARTY TO THIS ACTION

                Plaintiff has consented to the dismissal of the City of New York in this matter

See   Plaintiff s Memorandum of Law in Opposition at l.


                                         CONCLUSION

         For the foregoing reasons, DOE respectfully requests that the Court issue an order

granting their motion to dismiss the complaint in its entirety together with such other and further

relief as this Court deems just and proper.

Dated: New York, New York
       June 22,2076




                                              Respectfully Submitted,




                                               ZACHARY W. CARTER
                                               Corporation Counsel of the City of New York
                                               Attorney for Defendants The City of New York, The
                                               New York City Department of Education, and the
                                               New York City Board of Education
                                               100 Church Street, Room 2-143
                                               New York, New York 10007
                                               (212) 3s6-r 180
                                               kconnoll@law.nyc.gov


                                               By:    lsl
                                                      Kevin P. Connolly
                                                      Assistant Corporation Counsel




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